Case 8:20-cv-00001-DOC-KES Document 1-1 Filed 01/02/20 Pagelof15 Page ID#:5

EXHIBIT “A”
 

Case 8:20-cv-00001-DOC-KES Document 1-1 Filed 01/02/20 Page 2of15 Page ID#:6

 

- DO NOT FILE WITH THE COURT- CiV-050
-UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -
ARTY WITHOUT ATTORNEY end, TELEPHONE RO.:
Califoma Injury, PLC 888-999-0828 FOR COURT USE OMY
Granth J, Crhoelman, Esq., SBN# 259525
5900 Sepulveda Blvd. Ste. 330
Van Nuys, CA 91411

ATTORNEY FOR (rama: Plaintiffs, Maricelia Solorzano, et al.
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange

streeraporess: 700 W. Civic Center Drive

MAWNG ADORESS; Bathe as above |
cry ano ze cooe: Santa Ana, 92701

maancHnane: Central Justice Center
PLAINTIFF: Maricells Solorzano, et al.

DEFENDANT; Hillstone Restaurant Group, Inc., et al.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STATEMENT OF DAMAGES GABE HUMBER:
(Peraonal injury or Wrongful Osath) 30-2019-01111195-CU-PO-CJC

To (name of one defendant only): Hillstone Restaurant Group, Inc.

Plalntif (name of ane plaintif only): Maricella Solorzano

seeks damages in the above-entitied action, ms follows:

1. Genera! damages AMOUNT
a. C7) Pain, euffering, end inconvenience .. seoressseeenennnea $.5,000,000.00
b. C27] Emotional distress. ..... a ; wunaan $5,000,000.00
©. 7) Lows OF COMBOFHIN ...ccsosesssssssssesssssscsssssssansseeensuuaveuuvisussesovscsaeanessaneessesviveceerutursupepnttenenvessseteseutgavenenen $
d.C J Loss of soulay and companionship (wrangiu! death actions ant) sesonssnecesstsacescgeuacaqsecesecnnannenenoncanien $
0.1 Other fepectyy hninanaspntiennse nett sesenes $
a. _] Continued on Attachment 1.0.

2. Special damages
a. LZ] Medical expanses (10 f8t) .icsscsscccssesssssssssmsesscusssssssssscssssssassssseessensucuscssessesnensssssssssesaceetesscensasseeeae $100,000.00
b. C22) Future medical expenses (present VEIUC) careacssssssssscssssccossssesssssesscsocsesssssarspsessssenesestesseasecsesesseeusvene $300,000.00
©. 2] boas of eeaminge (£0 Gate) oa.ssscsscsssccensesssossssssssessesesssussuseesenese sassansansensesssssonssengsssnsnesancunense g undetermined
. _] Loss of future eaming capacty (present vafue) . ve poses g undetermined
©. [] Property damage occccesseessesseseescorassnesenscesnsseeunescuessesguenrtsessensssessecvestasenuisesstnstenassnueenten $
{. [_] Funeral expenses (wrongtd desth actions only) seven $
gC) Future contributions (prssent value) (wrongftul death Actions OY) .oscssssccssssssessescesesccsessssesneesseeen $.

h. _] Value of personal service, advice, or training (wrangt death actions OFMY) ....csssssvcsseeseessenstnee $,
tT ther (mC a. sunsennniniunnnininnnniunianunineinannnnnennenan sn
JD Ott (pt ) ustanetneustinnpsnnnnitnnisintisnuiieiiiuuenusees $

 

 

x. I continued on Attachment 2.k.

aC Punitive darnages: Pialntif reserves the right to seek punitive demages In the amount of (apecty).. $
when pursulng a Judgment in the sult fled against you.

 

 

 

Date: 11/14/2019 .
Granth J. Crhoelman, Esq. p ara A, Cal te
(TYPE OR PRINT NAME) . {(GIGKATURE OF PLAINTIFF OR ATTORAEY POR PLAINTIFF)
(Proct of service on revere) Page tots
Form tor Use STATEMENT OF DAMAGES Code of Cri Procedure, §§ 428.11, 428,115
Rt era dear (Personal injury or Wrongful Death) semaitiainenad
Case 8:20-cv-00001-DOC-KES Document 1-1 Filed 01/02/20 Page 3of15 Page ID#:7

CIV-050

 

 

| PLAINTEF: Maricella Solorzano, et al. , CASE HUMBER:
DEFENOANT: Hillstone Restaurant Group, Inc., et al. | 30-2019-01118195-CU-PO-CIC

 

 

 

PROOF OF SERVICE
(Alter having the other party served sa described balow, with any of the documents identified in item 1, have the person who served
the documents complete this Proof of Service. Pisintfif cannot serve these papers.)

1. | served the
a LJ Statement of Damages [] other (snectfy):

b. on (name);
c. by sarving C_ldefendant [lather (name ant titfo or relationship fo person served):

a. CoJby detvery Coclethome [lat business
(1) data:
(2) time:
(3) addresa:

eo. L_] by mating
(1) data:
(2) placa:
2. Manner of service (check proper box):
a. [] Personal service. By personaly delivering copies. (CCP § 416.10)

b. [__] Substituted carvice on corporation, unincorpormted association (including partnership), or publlo entity. By
lsaving, during usuat office hours, copies [n the office of the pareon served with the pereon who apparently wes In
charge and thersafter mailing (by first-dase mall, postage prepaid) copies to the person served at the place where the
copies wero ieft. (CCF § 415.20(a))

c. C_] Substituted servis on natural person, minor, conservates, or candidate. By Isaving copies at the dwelling house,
usual piace of abode, or usual place of business of the parean served in the presence of a competent member of the
household or a person apparently in charge of tha office or place of business, at ieast 18 years of age, who was

__ Informed of the general nature of tha papers, and thereniter mailing (by firet-ciass mall, postage prepaid) coples to the
person eerved at the place whare the caples ware left. (CCP § 415.20(b)) (Attach esparate declaration or affidavit
stating acts retled on to satabliah reesonahle diligence In first attempting personal service.)

d. (_) mall and acknowledgment eervice. By mailing (by firet- class mail or airmail, postage prepaid) copies to the person
served, together with two coples of the form of notice and acknowledgment snd a retum envelope, postage prepald,
addressed to the sender. (CCP § 415.30) (Attzch completed acknowledgment of receipt.)

oe. C_] Certified or registered mall service. By mailing to an address outside California (by first-class mall, postage prepaid,
requiring a retum rece!pt) copies to the person served. (CCP § 416.40) (Attach algnad return receipt or other
evidence of actual delivery to the person served.)

{. (2) other (apecity code section):
additional page is ettached.
3. At the time of sarvice | was at least 18 years of age and not a party to this action.
4. Fee for sarvice: $
§. Parson serving:

a. LJ] California sheriff, marshal, or constable f. Name, address and telephone number and, tf appiicable,
b. = Registered California process server county of registration and number:
c. Employes or Independent contractor of a regietered

Callforna process server

d. (] Nota registered Califamia process server
e. _] Exempt from registration under Bus. & Prof, Code

 

 

 

§ 223800)
| dedare under penalty cf perfury under the laws of the (For California ahaertff, marshal, ar constable use onty)
State af Califomia that the foregaing ta tus and correct. | certify that the foregoing is true and cormect.
Data: Date:
c , datilaty 1,
M060 Fev. 1, 207) PROOF OF SERVICE Cadi of Chi Procedure $5 428.11 08118

(Statement of Damages)

we

 

 
Case 8:20-cv-00001-DOC-KES Document 1-1 Filed 01/02/20 Page 4of15 Page ID#:8

 

 

 

 

 

 

 

 

~ DO NOT FILE WITH THE COURT- Civ-080
-UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE $ 585 -
ATTORNEY OR PARTY WITHOUT ATTORNEY ead Adie) wee TELEPHONE NO : Ti
California Injury, PLO see 300UENy | FOR COURT IE CRY i
‘Granth J. Crhoelman, Esq., SBN# 259525
:$900 Semilveda Blvd. Ste. 330 1h
‘Van Nuys, CA 91411 * i}
|__ ATTORNEY FOR (nema: _ Plaintiffs, Maricelia Solorzano, et al. | i
. (SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange = | |
,|! smaezranonesa; 700 W. Civic Center Drive
‘| wawvoaconess: Same as above i
|: emvannzp coc: Santa Ana, 92701 * Lt
iL srancHnae: Central Justice Center | fi
i PLAINTIFF: Maricella Solormmo, etal. === SO AL
“|: O&FENDANT:. Hillstane Restaurant Group, Inc., et al. HL. --. _
[=== "= STATEMENT OF DAMAGES OT CEM
: (Personal Injury or Wrongful Death) _'[ _30-2019-01111195-CU-PO-CIC_ i

 

 

 

 

To (nama of one defandant onty):Hillstone Restaurant Group, Inc
Plaintiff (name of one.ptaintif only); James H. Fortner
seoks damages in the above-ontitied action, as follows:

 

 

 

 

 

 

 

 

 

 

 

 

1. General damages AMOUNT
Pain, surffaring, ard Inconverbences ..o......sssecesessecsceousorssseneevecevssovsserceeseneenercesesecsessaessseseaseattsaueseverueee Gone tenn n+

b. CU] Ermetional distress. oss cseeseessenecvecectnannneusessocecssseeeeeeecnnesvansestssaateeaseesnsesssanatnsastssensesesetees $a ss
c. CY] Loss of COMBOrtUIM oo. sscccosesecsoeesee susaeiusenensssstnesuseansevsnonssvesareanernsensens $250,000.00
4.0 Los ef socay end compantonehip (wrongfd daath actone ent) seseessnavseescanenquenesstuneasusinestnecssoe 3 250,000.00
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tC) other fepenty) tiie se
g. C_] Continued on Attachment 1.9. “

2. Special damages
6. CL) Medical axpenses (f0 Cato) o.cccsscccscccssssssecsssosssssvesassessessssssssecnsesscssnsennscatscsssssessscrarasusnersseensenseapansane $e
b. } Future medical expenses (976500 VAIO) ..sssssssstssnsnntstvniinvinsiintnennnrinernsen 8 _
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d, _] Lose of future eaming capacity (presart value) ...ssccesscssssssssensastssssenssssssssssassusacescnnguesceneeisetsteae gundetermined .
e. LJ Property damage .-ecssessn sa , Sunes Sic eee cee, —_.
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g. C1 Future contributions (present veilua) (wrongful oath actions Only) sossssccssoccsssunseecsssssesusseccesessseren $eaeeeee
h. C2] Vatue of pareonal service, advice, or training (wrongful death actions orly) s_... —
Se TS soseseccuanasevene s
1 Cotter (poo) usiitipitistibiseieec :
k. C_] Continued on Attachment 2.k. " -

3. (J Punttive damages: Plantiff reserves the right to seek puritive damages In the amount of (spectiy)..$ :

when pursuing @ judgment In the sult filed against you.
Date: 11/14/2019.
Granth J. Crhoelman, Esq}

 

 

 

 

 

= ==" OPE OR PRINT NALS)” om = wees = GIGNATURE OF PLADITIFG GR ATTORNEY FOR LANTER i

sr einer (Prost of sérvice on reverse) . Pipa tot

= ue . STATEMENT OF DAMAGES S=S~S~SCan ch Catron BH Oc 18
"Sheri eee (Pereonal injury or Wrongful Death)

ie en a a a Seg ee Y Zo =

 
Case 8:20-cv-00001-DOC-KES Document1-1 Filed 01/02/20 Page5of15 Page ID#:9

i PLAINTIFE: Maricella Solorzano, et al - cha MEER 1
DEFENDANT: Hillstone Restaurant Group, Inc,, et al. ‘) 30-2019-01 111195-CU-PO-CIC |

PROOFOFSERVIGCE
(After faving the ather party served as described below, with any of the documents identified in Item 1, have the person who served
the documents complete this Proof of Service. Plaintiff cannot serve these papers.)

1. | served the
Statement of Damages. [_] Other (apectty):

b. on (nanis):
¢, by serving L—_]defendant CJ other (name and tite ar relationship fo person served):

d. (by delivery [_] athome [at business
(1) date:
(2) time:
(3) address:

a. L_] by matting

(1) date:
(2) place:
2, Manner of earvice (check proper box):

a. LJ Personal service. By personally dalivaring copies. (CCP § 416.10)

b. ((_] Substituted service on corporation, unincorporsted association (Including partnership), or public entity. By
leaving, during usual offics hours, copies In the office of the parson served with the percon who apparently was In
charge and thereafter malling (by first-class mall, postage prepaid) copies to the parson eerved at the place where the
coples ware left. (CCP § 415.20(a))

c. [_) Substituted service on natural person, minor, conssrvates, or candidate. By leaving copies at the dwelling house,
usual place of abode, or usual placa of business of the person served in the prasenca of a competent member of the
household or a parson apparently In charge af the office or place of business, at least 18 years of age, who was
Informed of the general nature of the papers, and thereafter malling (by first-class mall, postage prepaid) coplas to the
Perscn served at the place where the copies ware left. (CCP § 415.20(b)) (Attach separate dectaration or affidavit
stating acte rolled on to establish reasonable diligence in firet ettampting pareonal eorvice.)

d, C—] Mall and acknowledgment service. By malling (by first- casa mail or alrmall, postage prepaid) copies to the parson
served, together with two copies of tha form of natice and acknowledgment and a Tetum envelope, postage prepaid,
addressed to the sender. (CCP § 415.30) (Attech completed acknowledgment of recelpt.)

eo. (1) Cartified or registered mall service. By maliing to an address outside Calfomia (by firet-ciase mall, postage prepald,
requiring a retum receipt) copies to tha person served. (CCP § 418.40) (Attach signed return receipt or other
evidence of actual delivery to the person served.)

t, (—) other (specity code section):
additional pago |s attached.
3. Af the time of sarvice | was at least 18 years of age and nota party to this action.
4. Fee for service: $

 

 

 

 

 

 

 

 

§. Person serving: :

a. [_] Callornta sheriff, marshal, or constable {. Name, address and telephone number and, if applicable,

b. | Registered California process server county of registration and nurnber:

c. Employee or Indapandent contractor of a registered

~ Calfomia proosas server
aC] Nota registarad Callfomia procees server
a. L_] Exempt from registration under Bus. & Prof. Code
(§ 223500)

| declare under pensity of perjury undar the laws of tha (For Califomia sheriff, marshal, or constabio use only)
State of Califomia that the foregoing Is tus and correct. { cartify that the foragoing is true and comect,
Date: Date:
: o
Vie yo

meena RRA a pag ret a ~~  (BIGNATURE)
CWO Pe, Say 1, 067) PROOF OF SERVICE Godt of Cnt Procedure $5 425.

(Statement of Damages)

 

 
Case 8:20-cv-00001-DOC-KES Documenti-1 Filed 01/9 2570 Paage.6 of Page ID #:10
-419° Fs 00)

f
Electronically Filed by Superior Court of Calilomis, County of Orange, 14/12/2019 10:59:53 AM.

 

DAVID H. YAMASAKI, Clerk of the Court By Briana Brown, Deputy Clark. 30-2019-01111195-CU-PO-CJC ROA #4 SUNM-100
SUMMONS POR COUNT URE Ona.
(CITACION JUDICIAL) O0nO MARA UNO ELA CORTE)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
HILLSTONE RESTAURANT GROUP, INC.; HOUSTON’S and DOES |
1 to 50 Inclusive,

YOU ARE BEING 8UED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

MARICELLA SOLORZANO and JAMES H. FORTNER

 

 

NOTICE! You have boon siied. The court may dedde agains! you without your being heard unlesa you reapord within 90 days. Reed the information

low.

You have 30 CALENDAR DAYS afier this summons end legal papers are served on you to file a written response at this court and have a copy
served on the piaintiff, A letter or phone call will not protect you. Your written reeponss muat be in proper lega! form If you want the court to hear your
case. There may be a court form that you ean use for your responae. You can find these court forms and more Information at the Califomia Courts
Cninie Self-Help Canter (wew.courtinio.ce. gow'saYhedp), your county taw Korary, or the courthouse neerest you. If you cannot pay the filing fsa, axk
the court clark for 2 fee waiver form. if you do not file your response on fima, you may jose the cass by cefauit, and your wages, money, and property
may be taken without further waming from the court.

There are other legal requirements. You may want to cad an attomoy right eway. tf you do not know en atiomay, you may want (p call an atlomey
reforral. service. H you cannot afford an attomey, you may be olighio for free fagal sarvioss frorn a nonprofit legal garviosn program. You oan locate
thease nonprofit groupe st tre Csifomis Lega! Services Web ste (wwwJawhelcalfom/a.org), tho Callfoma Courts Ontine Ssif-Help Center
(www. courtinio.ca.gov/seMfrelp), or by contacting your loon) court or county bar association, NOTE: Tha court haa a atetutory lien for waived fess and
coats on any settioment of arbitration award of $10,000 or more in a civil cese. The court's len must be pald before the court wil dismiss the case.
1AVISO) Lo hen demandade. S! no responds dentro de 30 dias, la corte puede dsoicir en a contra sin asouoter su varaién. Les le informactin s
continueoién,

Tiare 30 DIAS DE CALENDARIO deapués de quo le entreguen este citaciin y papeles iegaiss pars presentar une respuesta par sacrita an asta
corte y hacer que so entregus une copts al demantiante. Uno certs o tna flamace tataténica no fe protegan. Su respussia por searto tans gue ssier
an formato legal correcto ai dessa que proceaen su caso en ie corte. Es posible que haya un formuhtrio que usted pueda usar pare au rexoueste.
Punde encontrer eetos formulartes de to carts y mas informecidn en el Centro de Ayude de fea Cortes de Caffornis (erry. sucorte.ca.goy}, an ie
biblioteca da byes de su condado 0 an fe corte que le quads nds cerce. S/ no puede pager la cuota de presartacién, pide al secreiario de {a corte
que fe dé un farmutario de exencién de pago dé cuotas. Si no presents au reepuaste.e tempo, puede pardar oe! caso por incumpiimiantn y je corte fe
podrd quiter su suefde, dinare y blenas ain née advertenea.

Hay otros requistos legefos. Es recomendahie que fame 2 un ebopedo lamadiatamente, Si no canoce a un ebogado, pusde lismar a un servicio do
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(wew lawheipcaltomis.org), en a! Cantro de Ayuda de las Cortes de Caltfomia, (waw.eucorte.ca.gov) o poniéndeas an cantecto can fa corte o al
cilegre de abogados focareo. AVISC: Pur ley, ta corte Tene Corocho a rodemear lag Gudtaa y iia Costas axanilos pov fporier un gravarion oobro
cualquier recuparectin de $10,000 4 mda de vidor recibide meciarte un acuerdo o unw cancosién de arbliraje an un case da derecho civil. Tlane quo
pager el graversn de 1a corte antes de qua la corte pueda desschiar ¢! cb80,

The name and addrese of the court is: — CARE NUMER:
(El nombre y direccién de ja corte es): Central Justice Center 30-201 9-01111195-CU-PG-CIC

Orange County Superior Court, 700 W. Civic Center Drive, Santa Ana, 9 &-——— Judge Nathan Scott

CA 92701

The name, address, and telaphone number of plairtife attomey, or plaintiff without an attomay, is:
nomoro, fa direocién y al ndrmara de toféfons de! abogado do! demandants, o ds) damandante gus no tiane abogado, aa):

(El
Granth J. Crhoelman, Esq., 5900 Sepulveda Boulevard, #330, Van Nuys, CA 91411; (888)999-0828

 

 

 

 

 

 

 

 

DATE: Clerk, by , Deputy
(Fecha) 11/12/2013 David H, YerasaX, Clark of tha Court (Secret o) __ at 3. a2 (Adjunto)
(For proof of service of this summons, uae Proc! of Service of Summona (form POS-070),) ~

(Pare prusta de enirega de este citatién use el farrmulario Proof of Service of Summons, (POS-010)}, Briana Brown

| NOTICE TO THE PERSON SERVED: You are sarved
1. ("J as an individual defendant

Eee aunt OH nc

3, [2] on behalf of (specify):

 

 

 

 

 

 

under: [2] CCP 416.10 (corporation) (J COP 416.80 (minor)
(—] CCP 416.20 (defunct cosporation) (-_) CCP 418.70 (consarvatee)
[7] CCP 416,40 (association or partnership) [—] CCP 416.90 (authorized parson)
[_] other (spactty):
' 4 [2] by personal delivery on (date):
; : Prge ott
Form accptac fot Mardmry Use SUMMONS Cote of Cia Premacre 88 412-70, 468

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Case 8:20-cv-00001-DOC-KES Document 1-1 Filed 01/02/20 Page 7of15 Page ID#11

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Eleclonicaily Filed by Superior Count of California, County of Orange, 11/12/2019 10:59:53 AM.
DAVID H. YAMASAKI, Clerk of the Court By Briana Brown, Daputy Clerk. 30-2018-01141195-CU-PO-CJC ROA # 2
J}CALIFORNTA INJURY, PLC

:|| Granth J. Crhoelman, Esq., SBN 259525

 

 

Tt

 

 

 

 

 

2°]! 5900 Sepulveda Boulevard, Suite 330 - ;

4 {Van Nuys, CA 91411 I

Tel: (888) 900-0828 \

4 ||Fax: (310) 861-1505 :

5 :

")| Attorneys for Plaintiff, MARICELLA SOLORZANO :

6'1| and JAMES H. FORTNER

Tih |

841

: SUPERIOR COURT OF THE STATE OF CALIFORNIA \

9 i

104 FOR THE COUNTY OF ORANGE — CENTRAL JUSTICE CENTER :

11 || MARICELLA SOLORZANO end JAMES H. ) CASE NO. 30-2019-01111195-cU-Po-gc
12 {| FORTNER Judge Nathan Scott
sss COMPLAINT FOR DAMAGES:

13. Plaintiff, GES

14 Vv 1. PREMISES LIABILITY j

15 | HILLSTONE RESTAURANT GROUP, INC.} NEGLIGENCE

1] HOUSTON’S and DOES 1 to 50 Inclusive, "

16: ,DEMAND.FOR JURY.TRIAL. *

‘1H ° A

17 | Defendant(s).

18 ee eed Hl

19: COMES NOW, PLAINTIFF, MARICELLA SOLORZANO and JAMES H. FORTNER, |!

0"|| and for Causes of Action against Defendants, and each of them, complains and alleges as

31° ‘follows:

23 I: 1. Unless otherwise clearly delineated by the context, reference to the phrases, “at 4 :

24 |}all times mentioned herein” or “at all times relevant herein,” include the occurrence of the ;

95 || events and facts alleged in this Complaint. AL

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Case 8:20-cv-00001-DOC-KES Document 1-1 Filed 01/02/20 Page 8of15 Page ID #12

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‘PARTIES,

2. Plaintiffs MARICELLA SOLORZANO and JAMES H. FORTNER (hereinafter
“MARICELLA” “JAMES” OR “PLAINTIFFS”) was, and at all times mentioned relevant was,
|| 8 resident of the City of Irvine, Orange County, State of California. Plaintiffs are husband and
wife.

3. At all times mentioned herein, Defendant HILLSTONE RESTAURANT
GROUP, INC (hereinafter “Defendant”), was, and is now, a Delaware Corporation doing
business in the City of Irvine, Orange County, and throughout the State of California.

4. At all times mentioned herein, Defendant HOUSTON’S (hereinafter
“HOUSTON’S”), was, and is now, a Californie business entity form unknown doing business in
the City of Irvine, Orange County, and throughout the State of California.

5. Thet the true names and capacities, whether individuals, corporate, or otherwise
of Defendants are sued erroneously herein as DOES 1 through 40, inclusive, are unknown to
Pisintiff at this time, who therefore sues said Defendants by such fictitious names and
capacities, Plaintiff will seak leave to amend this Complaint to include their true names when
they have been ascertained, Plaintiff is informed and believes, and upon such information and
belief hereby alleges, that each of the Defendants sued therein as DOES 1 through 50, inclusive, .
are negligent, or in some other manner liable or responsible, for the events and happenings
alleged in this Complaint, and by their conduct directly and proximately caused Plaintiff to
austain the injuries and damages alleged herein.

6. Plaintiff is informed and believes, and thereupon alleges, that at all times
mentioned herein, Defendants, and each of them, including DOES 1 through 50, inclusive, and
each of them, were the agents, servants, employees and/or joint ventures of their Co-
Defendants, and were, as such, acting within the course, scope, and authority of said agency,
employment and/or joint venture, and with the knowledge, consent, permission and/or
ratification of each other, and that each and every Defendant, as aforesaid, when acting as a
principal, was negligent in the selection and hiring of each and every other Defendant as an
agent, employee and/or joint venturer. At all times mentioned in this complaint, Defendants,

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oO ~~] an nh > bla —= S ‘oO oo ~~ AN Wa > wa tN _ ©

 

2
COMPLAINT FOR DAMAGES

 

 

 

 
Case 8:20-cv-00001-DOC-KES Document 1-1 Filed 01/02/20 Page9of15 Page |ID#13

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4{/‘and upon her face.
: i 8. Plaintiff is informed and believes, ‘and thereupon alléges, that Defendantn, and

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|| and each of them, and DOES 1 through 50, owned, managed and operated HOUSTON’S

i|| located at 2991 Michelson Drive, Irvine, California 92612.
(ii

FACTS

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Ah 7. On November 30, 2017, at HOUSTON'S. Defendants, and each of their agents,
‘employees and representatives so negligently owned, controlled, supervised, managed,

‘maintained and operated said premises so as to proximately-cause the MARICELLA to frip and |
fall causing Plaintiff's injuties and related damages. At the time of the subject accident, -

i

‘ ‘MARICELLA was at HOUSTON’S to enjoy dining in the restaurant. Plaintiff was walking in

‘ iand about the premises when she was descending stairs and did suddenly, trip and fall on end

‘upon the steps and on and upon the graveled/textured landing causing her to fall forward and in

13} Hy ‘each of them, is legally responsible in some manner for the negligence, or in some other

14!

15 tortuously responsible, in some manner, for wrongfully causing injuries and damages to Plaintiff}
16 \|'as alleged, including, but not limited to; tortuous liability based upon the law of general 0.

17 : hhegligence.

18 | FIRST. CAUSE.OF ACTION,

19: NEGLIGENCE

20 i} [By Plaintiff Against All Defendants]

21 |) 9. “Plaintiff repeats and re-alleges Paragraphs 1 through 7, inclusive, and

22 | [aco the same herein by reference: t
23 | 10, tall times mentioned, Defendants, and.each of them, hhad sole and'exclusive !
24 | +” custody and control of; including; but limited to, the store, the'sisles, the reffigeration, |
25 ind activities occurring on and around said area. Further, Defendant: ind each of then, owed
26 | Iduty to Plaintiff and others lawfully on HOUSTON'S propéity to kéep said location in a good |
27 } tad safe condition.

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‘actionable manner, for the events and happenings hereinafter mentioned as well as were x

 

 

 

 

 

 

 

 

 

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11. Contrary thereto, Defendants, and each of them, were negligent, careless and
reckless in the ownership, care, control, design, engineering, construction, maintenance,
operation, leasing, management, and caretaking their restaurant, in that they caused and
permitted said location to be and remain in a dangerous and unsafe condition in that Defendants,
and each of them, caused or permitted the dangerous condition in the area of the stairs and
landing to exist causing MARICELLA to trip and fall and land on the textured/gravel like
landing.

12. Defendants, and cach of them, were negligent, careless and reckless in that they
failed to properly warn of the dangerous condition, and in that they failed to properly warn or
protect the area of said dangerous condition.

13. Said Defendants, and each of them, fully and well knew, or should have known
in the exercise of reasonable care, that said stairs were dangerous and defective and in an unsafe
condition, and a menace to MARICELLA and others lawfully on said premises.

14. By reason of the aforesaid negligence, carelessness and recklessness of
Defendants, and each of them, and as a direct and proximate result thereof, MARICELLA,
while walking in and upon the premises, was caused to trip and fall sustaining the injuries and
damages hereinafter alleged.

15. Asa direct, legal and proximate result of the reckless and negligent conduct of
Defendants, and DOES 1 to 50, inclusive, MARICELLA was compelled to, and did, employ the

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services of hospitals, physicians, surgeons, nurses, and the like, to care for and treat her injuries,
the exact amount of such losses to be stated according to proof, pursuant to Califomia Code of
Civil Procedure § 425.10.

16. Asa further direct, legal and proximate result of the conduct of Defendants and
DOES | through SO, inclusive, MARICELLA was injured in her health, strength, and activity,
sustaining injuries to her body, and shock and injury to her nervous system and person, al! of
which have caused, and continue to cause her great physical, mental, and nervous pain and
suffering. Plaintiff is further informed and believes, and thereupon alleges, that said injuries

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COMPLAINT FOR DAMAGES

 

 

 

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will result in disability to her persons, all to her general damage in an amount which will be
stated according to proof, pursuant to Califomia Code of Civil Procedure § 425.10.

17. As a further proximate result of the negligence of Defendants, and each of

them, MARICELLA has sustained loss of eamings and earning capacity, both past and
future, in amounts according to proof.

18. Prior to the above-described incident, MARICELLA was able to, and did
perform, her duties as a wife and homemaker. Subsequent to the injuries and as a proximate
result thereof, MARICELLA, has been unable to perform the necessary duties as wife and
spouse and the work and services usually performed in the care, maintenance and management
of the family home, By reason thereof, JAMES, has been deprived of the consortium of his
spouse, including the performance of his spouse's necessary duties, all to JAMES’, damage in a
sum as of yet unascertained, but according to proof.

ySECOND CAUSE. OF ACTION.
PREMISES LIABILITY
[By Plaintiff Agninst All Defendants]

19. Plaintiff repeats and re-alleges Paragraphs 1! through 15, inclusive, and |!
incorporates the same herein by reference.

20. On November 30, 2017, at HOUSTON’S, Defendants, and each of their agents, |

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employees and representatives so negligently owned, controlled, supervised, managed,
maintained and operated said premises so as to proximately cause the MARICELLA to trip and |
fall causing Plaintiff's injuries and related damages. At the time of the subject accident,
|| MARICELLA was at HOUSTON'S to enjoy dining in the restaurant. Plaintiff was walking in |
and about the premises when she was descending stairs and did suddenly trip and fall on and
{upon the steps and on and upon the graveled/textured landing causing her to fall forward and in

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and upon her face,

21.  Atall times mentioned in this complaint, Defendants, and each of them, had sole
and exclusive custody and control of HOUSTON’S restaurant located at 2991 Michelson Drive,
Irvine, California 92612, including, but not limited to, the stairs and landing thereon. ,

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~ COMPLAINT FOR DAMAGES ~~ =<

 

 

 

 
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22. Defendants, and each of them, invited the general public, including

2 || MARICELLA, to enter the premises of HOUSTON’S to consume food.
3 23. Defendants, and each of them, owed the general public a duty to maintain their |
4 {| property, in a reasonably safe condition, and a duty to exercise due care to protect invitees from
§ || conditions that can result in injury.
6 24. Defendants, and each of them, as owners and operators of HOUSTON’S
7 || negligently:
8 |] a. Failed to maintain the stairs and landing of HOUSTON’S in a reasonably
safe condition and breached their duty of care to their customers by
9 allowing a dangerous condition to exist
10 b. Allowed a dangerous condition to exist, or in the exercise of reasonable
care should have known, that non-Code Compliant stairs and landing
11 creates an unreasonable risk of harm to its customers in the areas that
customers walked through;
12 c Failed to warn Plaintiff and other invited customers of HOUSTON’S of
the danger presented by the dangerous condition:
13 d. Failed to conduct routine inspections during normal business hours to
14 ensure that no dangerous condition existed in an area where MARICELLA
and other invited customers walked through;
15 | 8 Failed to otherwise exercise due care with respect to matters alleged in this :
complaint;
16
7 25. Asa direct, iegal and proximate result of ihe reckiess and negiigent conduct of
18 Defendants, and each of them, and DOES 1 to 50, inclusive, MARICBLLA was compelled io,
19 and did, employ the services of hospitals, physicians, surgeons, nurses, and the like, to care for
20 |{ and treat her injuries, the exact amount of such losses to be stated according to proof, pursuant
a to California Code of Civil Procedure § 425.10.
3 26. As a further direct, legal and proximate result of the reckless and negligent
nq || Conduct of Defendants, and each of them, and DOES ! to 50, inclusive, MARICELLA suffered
24 lost earnings and earning capacity, the exact amount of such losses to be stated according to |:
25 proof, pursuant to Californie Code af Civil Procedure § 425.10.
26 27. Ase further direct, legal and proximate result of the conduct of Defendants, and |
27 each of them, and DOES 1 to 50, inclusive, MARICELLA was injured in her health, strength,
{
98 and activity, sustaining injuries to her body, and shock and injury to her nervous system and

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—~ COMPLAINT FOR DAMAGES = > ~~SOSCS~S~C<;<C‘z«S

 

 

 

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Lif ‘person, all of Which Have caused, and coritinue to cause her great physical, mental, and nervous
2| ‘pain and suffering. MARICELLA is further informed and believes, and thereupon alleges, that’

 

 

 

 

 

 

 

 

 

3 : ‘said injuries will result in disability to her person, iall to her general damage in an smount whic
41. ‘will be stated according to proof, pursuant to Califomia Code of Civil Procedure § 425.10,
5 ! ; 28.  Priorto.the above-described incident, MARICELLA ‘was able to, and did
6 | perform, her duties as a wife and homemaker. Subsequent to the injiiriés and as a proximate
7H result theréof, MARICELLA, lias béén unable th perform the necessary duties as wife and i
8 ' ‘i spouse and the work and services usually performed i in the care, maintenance and management |
9 | of the family home. By reason thereof, JAMES, has been deprived ofthe consortium of his
10 » ‘spouse, including the performance of his:spouse's necessary duties, all to JAMES’, damage in a
ny |sum. as of yet unascertained, but according to proof.
12) PRAYER. FOR RELIER,
13 WHEREFORE, Plaintiffs, MARICELLA SOLORZANO and JAMES H, FORTNER,
14 i | pray for judgment against the Defendants, and each of them, as follows: )
15 | 1) For general damages according to proof; |
16; 2) Forall medical, hospital and incidental expenses, according to proof, |
17. | 3) For loss of earnings, past and-future,:and earning capacity according to proof,
18 i 4) For Damages for Loss of Consortium
19 | 5) For all prejudgmiaiit iriterest, according to proof
20° ! 6) — For all costs of suit, according.to-proof, and f
21 i . 7) For uch other and further relief as the Court may deam just and proper.
221, | |
23 ‘Dated: November |. , 2019 CALIFORNIA INJURY, PLC ill
24 | |
25 I Gul D. Celish-naes I
76 II "Granth J. Shoclnen, Ear f
\i Attomey for Plaintiff, MARICELLA
27° | SOLORZANO and JAMES H. FORTNER |
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| f Sa Se COMPLAINT FOR DAMAGES = | |

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Plaintiff hereby demands trial by jury as to all causés of action.

“Granth J. Crioelman,Esq. ==
Attorney for Plaintiff, MARICELLA

SOLORZANO and JAMES H. FORTNER |}

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Dated: November [g. , 2019 CALIRORNIA INJURY, PLC |
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CENTRAL DISTRICT OF CALIFORNIA

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